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ClaimID: <<ClaimID>>
PIN:<<PIN>>

Dear <<First1>> <<Last1>>,


                If You Were a Division I College Athlete Between 2016 and 2024,
                     You Could Get Money from a Class Action Settlement.

                                        CLICK HERE TO FILE
                                        YOUR CLAIM FORM

                                   A federal court authorized this notice.
                           YOUR CLAIM ID                                  <<ClaimID>>
                                     YOUR PIN                                <<PIN>>
                    USE THESE UNIQUE NUMBERS WHEN FILING
                 YOUR CLAIM FORM TO RECEIVE A CLASS PAYMENT.


You are receiving this notice because school records indicate you are included in this class action settlement
and may be eligible for a payment. To see how much money you could recover and to update your contact
information and/or payment method, visit www.collegeathletecompensation.com and enter the Claim ID
and PIN provided above. Estimated payments will be updated approximately 60 days from the date you
receive this notice and will be dependent on the information your school provided to us.


                                        What is this lawsuit about?
College athletes sued the NCAA and the Power Five Conferences (Atlantic Coast Conference, Big Ten, Big
12, Pac-12 and SEC), together called the “Defendants.” This lawsuit claims that the Defendants illegally
agreed not to pay college athletes for participation in athletics or for use of their name, image, and likeness
(“NIL”), and they also agreed to prevent college athletes from receiving money from third parties for use
of their NIL, and they agreed to limit scholarships available to college athletes. Defendants deny these
claims. Defendants have agreed to the settlement to resolve the lawsuit against them.

                                      Are NCAA rules changing?
As part of the Settlement, Defendants have also agreed to change compensation rules going forward.
Conferences and schools, starting in Fall 2025, may increase the number of athletic scholarships provided,
and may provide direct benefits for NIL and participation in college sports. These increased compensation
opportunities may impact you if you compete as a college athlete beginning in Fall 2025.

To see the full set of rule changes, visit www.collegeathletecompensation.com.

                                       Who is a part of the lawsuit?
You are part of the settlement as a “Class Member” if you:
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        Competed on any Division I athletic team and were declared initially eligible for competition
        between June 15, 2016 and September 15, 2024.

                                              What do I get?
Defendants have agreed to pay $2,576,000,000 and change compensation rules going forward to end this
lawsuit. You may be eligible to receive some of this money now. The amount of money you get will depend
on what sport you played, the years you played, where you played, your scholarship status, your recorded
NIL deals, how many people are included, and how much money the Court approves for attorneys’ fees,
class representative awards, and litigation and settlement costs. These payments, as well as attorneys’ fees,
will be paid out over a ten-year period.

                                          How do I get money?
If you got this notice, and you played football, men’s basketball, or women’s basketball for a school that
competes in a Power Five Conference, you do not need to do anything to get money. You will automatically
receive a payment if the settlement is approved and becomes final. To see an estimate of your payment
amount      or     update     your    contact     information     and/or   payment       method,     visit
www.collegeathletecompensation.com 60 days from the date you receive this Notice.

If you played a sport other than football or basketball at a school that is in a Power Five Conference, or
competed in any sport for a school not within a Power Five Conference, you will need to complete a Claim
Form.

If you received NIL compensation since 2021, and you competed prior to July 1, 2021, you can confirm
your deal was reported by your school here, and then you will automatically receive payment.

                                            What are my rights?
If you do nothing, you will be bound by the Court’s decisions. If you want to keep your right to sue the
settling Defendants, or their member institutions, instead of getting money from this settlement, you must
opt out by [Month 00, 202X]. You cannot opt out of the future rule changes (injunctive relief), but you can
object. Please note that if you opt out, you will not receive any money from this settlement. If you want to
stay in the settlement but do not agree with any part of it, you may object to it by [Month 00, 202X]. Details
about these options are available by clicking here or by going to www.collegeathletecompensation.com.

The Court will hold a hearing on [Month 00, 202X] to consider whether to approve the settlement and a
request for attorneys’ fees and award for each of the class representatives. You or your own lawyer may
appear and ask to speak at the hearing at your own expense.

NOTE: The Settlement Agreement does not release the claims currently raised in the Complaint in Choh
v. Brown University et al., No. 3:23-cv 305 (D. Conn.) (“Choh”), against the Ivy League and Ivy League
member institutions (“Choh Defendants”), challenging an alleged agreement among the Choh Defendants
not to award athletic scholarships or otherwise provide any compensation or education-related
reimbursements for athletic services as permitted under then-applicable NCAA rules. The previously filed
Choh claims arise out of unique aspects of rules applicable within the Ivy League alone. The Settlement
Agreement and its release provisions otherwise fully apply to student-athletes who are in the Settlement
Classes, including but not limited to Ivy League student-athletes, and likewise otherwise fully apply to
Releasees as defined in the settlement, which includes but is not limited to the Ivy League, Ivy League
member institutions, and Defendants in this Action.
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The Settlement Agreement also does not release, the claims currently stated in the Complaint in Johnson,
et al. v. National Collegiate Athletic Association, et al., 2:19-cv-05230-JP (E.D. Pa.), claims under the
Fair Labor Standards Act, 29 U.S.C.A. § 201 et seq. or any other federal labor laws, or claims under any
analogous state labor laws.
You do not need to opt out of this settlement in order to pursue remedies in the two lawsuits listed above.

                                     What if I received two notices?
If you received two notices by email and/or mail, NCAA records indicate that you are included in both this
settlement and the Hubbard v. National Collegiate Athletic Association settlement. You may be eligible to
receive money from both settlements.

Go to www.collegeathletecompensation.com to file a Claim Form in both settlements, if required, for you
to receive all the money you qualify for.

                                                Questions?

www.collegeathletecompensation.com info@collegeathletecompensation.com                   1-877-514-1777
